        Case 6:23-bk-10070-WJ                      Doc 44 Filed 02/02/23 Entered 02/02/23 09:52:49                                      Desc
                                                    Main Document    Page 1 of 6

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 MICHAEL B. LUBIC (SBN 122591)
 CONNOR J. MEGGS (SBN 336159)
 K&L GATES LLP
 10100 Santa Monica Boulevard, 8th Floor
 Los Angeles, California 90067
 Telephone: 310.552.5000
 Facsimile: 310.552.5001
 Emails: michael.lubic@klgates.com
         connor.meggs@klgates.com




 Attorney for: Amazon Capital Services, Inc.

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION                                       DIVISION

In re:
                                                                             CASE NO.: 6:23-bk-10070-WJ
WARNER SCIENCE APPLICATIONS,
                                                                             ADVERSARY NO.:
                                                                             CHAPTER:




                                                              Debtor(s).


                                                                                       APPLICATION OF NON-RESIDENT
                                                                                         ATTORNEY TO APPEAR IN A
                                                                                        SPECIFIC CASE [LBR 2090-1(b)]
                                                             Plaintiff(s).
                                    vs.




                                                                                        [No hearing required per LBR 2090-1(b)(6)]
                                                         Defendant(s).


1. I, Michael J. Gearin                                                                                , apply to the
   court under LBR 2090-1(b) for permission to appear and participate in the above-entitled action on behalf of the
   following named party, by whom I have been retained (specify name of party):
    Amazon Capital Services, Inc.

2. I have paid the required fee specified in LBR 2090-1(b)(5) to the United States District Court and have attached a
   copy of the receipt.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2016                                                               Page 1                                   F 2090-1.2.APP.NONRES.ATTY
        Case 6:23-bk-10070-WJ                      Doc 44 Filed 02/02/23 Entered 02/02/23 09:52:49                                      Desc
                                                    Main Document    Page 2 of 6

3. I am a lawyer with the following law firm (specify name and address of law firm):
    K&L Gates LLP, 925 Fourth Avenue, Suite 2900, Seattle, WA 98104-1158


4. I am a member in good standing and eligible to practice before the following courts and admitted to practice on the
   following dates (specify name of each such jurisdiction and my date of admission to practice in each such jurisdiction):
    United States District Court, WA Western, December 9, 1991; United States Bankruptcy Court, WA Western, December 9,
    1991; United States District Court, WA Eastern, April 9, 1997; United States Bankruptcy Court, WA Eastern, April 9, 1997
5. I am not a resident of, nor am I regularly employed, engaged in business, professional or other activities in the state of
   California. I am not currently suspended or disbarred in any court.

6. I have concurrently or within the past 36 months made pro hac vice applications to this court in the following actions:


                                                                                                   Date of
            Court                Case Number                     Title of Action                                      Disposition of Application
                                                                                                 Application




7. I    have       have not been disciplined by any court or administrative body                              disciplinary proceedings are
   pending; details are as follows:




    I       resigned          did not resign       while disciplinary proceedings were pending.

8. I certify that I have read the LBRs, the FRBP, the F.R.Civ.P., and the F.R.Evid., in their entirety.

9. I designate the following person of the following law firm, who is a member of the bar of this court and maintains an
   office in this district for the practice of law, as the attorney with whom the court and opposing counsel may readily
   communicate regarding the conduct of this case, and upon whom papers may be served:

    Name of attorney (Designee):
    Michael B. Lubic
    Name and address of law firm, or residence address:
    K&L Gates LLP
    10100 Santa Monica Boulevard, 8th Floor
    Los Angeles, CA 90067


    Telephone number of law firm: (310) 552-5000




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June 2016                                                               Page 2                                   F 2090-1.2.APP.NONRES.ATTY
        Case 6:23-bk-10070-WJ                      Doc 44 Filed 02/02/23 Entered 02/02/23 09:52:49                                      Desc
                                                    Main Document    Page 3 of 6

10. I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



Date: 02/01/2023



                                                                                  Signature of applicant


                                                                                  Michael J. Gearin
                                                                                  Printed name of applicant


                                                            CONSENT OF DESIGNEE

I consent to the foregoing designation.


Date: 02/01/2023


                                                                                   /s/ Michael B. Lubic
                                                                                  Signature of Designee


                                                                                  Michael B. Lubic
                                                                                  Printed name of Designee




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June 2016                                                               Page 3                                   F 2090-1.2.APP.NONRES.ATTY
Case 6:23-bk-10070-WJ   Doc 44 Filed 02/02/23 Entered 02/02/23 09:52:49   Desc
                         Main Document    Page 4 of 6
          Case 6:23-bk-10070-WJ                    Doc 44 Filed 02/02/23 Entered 02/02/23 09:52:49                                      Desc
                                                    Main Document    Page 5 of 6

                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 K&L Gates LLP, 10100 Santa Monica Boulevard, 8th Floor, Los Angeles, California 90067.


A true and correct copy of the foregoing document entitled: APPLICATION OF NON-RESIDENT ATTORNEY TO
APPEAR IN A SPECIFIC CASE [LBR 2090-1(b)] will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 02/02/2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
•        Todd M Arnold tma@lnbyg.com
•        Paul S Arrow parrow@buchalter.com, docket@buchalter.com;smartin@buchalter.com
•        William S Brody wbrody@buchalter.com, dbodkin@buchalter.com; IFS_filing@buchalter.com; smartin@buchalter.com
•        Arturo Cisneros arturo@mclaw.org, CACD_ECF@mclaw.org
•        Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com

                                                                                        x Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


    02/02/2023        Jonathan Randolph                                                 /s/ Jonathan Randolph
    Date                     Printed Name                                                      Signature
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June 2016                                                               Page 4                                   F 2090-1.2.APP.NONRES.ATTY
            Case 6:23-bk-10070-WJ                      Doc 44 Filed 02/02/23 Entered 02/02/23 09:52:49                                      Desc
                                                        Main Document    Page 6 of 6


TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued

•         Abram Feuerstein abram.s.feuerstein@usdoj.gov
•         Everett L Green everett.l.green@usdoj.gov
•         David L. Neale dln@lnbyg.com
•         Cameron C Ridley Cameron.Ridley@usdoj.gov
•         United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov




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    June 2016                                                               Page 5                                   F 2090-1.2.APP.NONRES.ATTY
